 Case 8:18-cv-02273-JLS-ADS Document 150 Filed 09/25/20 Page 1 of 2 Page ID #:2276




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8                             UNITED STATES DISTRICT COURT

 9                           CENTRAL DISTRICT OF CALIFORNIA

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11   JOHN K. SHAW, et al.,                       Case No. 8:18-02273 JLS (ADSx)

12                              Plaintiffs,

13                              v.               ORDER ACCEPTING REPORT AND
                                                 RECOMMENDATION OF UNITED
14   ULTIMATE FRANCHISES, et al.,                STATES MAGISTRATE JUDGE

15                              Defendants.

16

17         Pursuant to 28 U.S.C. § 636, the Court has reviewed the pleadings and all the

18   records and files herein, including the Report and Recommendation (“R&R”) dated

19   August 25, 2020 [Dkt. No. 148], of the assigned United States Magistrate Judge. No

20   objections to the Report and Recommendation were filed, and the deadline for filing

21   such objections has passed.

22         Accordingly, IT IS HEREBY ORDERED:

23         1.     The United States Magistrate Judge’s Report and Recommendation,

24                [Dkt. No. 148], is accepted;
 Case 8:18-cv-02273-JLS-ADS Document 150 Filed 09/25/20 Page 2 of 2 Page ID #:2277




 1        2.    Plaintiffs’ Motions for Sanctions against Loretta Hwong Griffiths and W.

 2              Scott Griffiths [Dkt. Nos. 73, 74] are granted;

 3        3.    Loretta Hwong Griffiths’ and W. Scott Griffiths’ answers are stricken; and

 4        4.    Default is entered against Loretta Hwong Griffiths and W. Scott Griffiths.

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 7   DATED: September 25, 2020              _______________________________
                                            THE HONORABLE JOSEPHINE L. STATON
8                                           United States District Judge

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